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                                                                                            United States Bankruptcy Court
                                                                                                Southern District of Texas

                                                                                                   ENTERED
                      IN THE UNITED STATED BANKRUPTCY COURT                                    November 02, 2021
                        FOR THE SOUTHERN DISTRICT OF TEXAS                                      Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

IN RE:                                                §
                                                      §        CASE NO: 21-33369
PREFERRED READY-MIX LLC,                              §
                                                      §
         Debtor.                                      §
                                                      §        CHAPTER 11

                       ORDER DENYING APPLICATION TO EMPLOY

        This matter is before the Court on the Application to Employ (ECF No. 5) filed by the

debtor. The applicant has failed to comply with the Bankruptcy Local Rule 9013-1 regarding

pleadings, hearings and service.1 Counsel failed to include the notice at the top of the application

that is required by Bankruptcy Local Rule 9013-1(b),2 nor the notice required by Bankruptcy Rule

9013-1(c).3

        THEREFORE, IT IS ORDERED that the Application to Employ is denied without

prejudice.

         SIGNED 11/02/2021


                                                          ___________________________________
                                                          Jeffrey Norman
                                                          United States Bankruptcy Judge




1
  The Bankruptcy Local Rules can be found at the following website: https://www.txs.uscourts.gov/page-
bankruptcy-local-rules.
2
  The court stresses the importance of the required 9013(b) language; first, the language requires and gives
notice that a response is required; second, that in the absence of a response the relief requested may be
granted without further notice to you. Giving notice of a hearing without the required language does not give
adequate notice to parties of a required response in opposition and that in the absence of such a response a
hearing may not be held, and the unopposed relief granted.
3
  Local Rule 9013-1(c) provides, in part, as follows:
If the motion may be self-calendared, this language must be added at the end of the notice:
There will be a hearing on this motion on [date] at [time] in courtroom _____, [address]”

1/1
